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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
                               –Northern Division–


 CONSTANCE COLLINS, ET AL.,

                   Plaintiffs

                      –v–                                Case No. 8:20-cv-01225

 TRI-STATE ZOOLOGICAL PARK OF
 WESTERN MARYLAND, INC., et al.,

                 Defendants.


                 MOTION TO POSTPONE STATUS CONFERENCE
                       PRESENTLY SET FOR JUNE 22

       Now Come the Defendants and file this Motion as captioned above, and state:

       1.      Undersigned counsel has been ill with flu like symptoms for several days

and has been unable to work for much of the last week due to fatigue and cough, and

when it was possible to work, has not been able to work more than an hour or two per

day. A Covid test was performed and was negative. However, undersigned counsel, a

solo practitioner, remains ill.

       2.      Undersigned requests that the status conference presently set for June 22 at

10:00 a.m. be postponed until next week.

       3.      PETA has stated that it opposes any postponement and that it wishes to file

an opposition to this motion. For that reason, this motion will be followed by a motion to

shorten time to respond.


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       WHEREFORE, the Defendants pray:

       That the status conference presently set for June 22, 2021, be postponed for a

period of approximately one week.

                                         Respectfully Submitted,

                                         ____s/Nevin L. Young________
                                         Nevin L. Young
                                         Fed Bar. ID No. 28604
                                         170 West Street
                                         Annapolis Maryland 21401
                                         410-353-9210
                                         nevinyounglaw@gmail.com

                              CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 21st day of June, 2021, I served the foregoing upon the
counsel and/or parties set forth below via the ECF filing system:

Adam Abelson, Esquire
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                                                ____s/Nevin L. Young________
                                                Nevin L. Young

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